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                     VIOLATION OF SUPERVISION PROCEEDINGS MINUTE SHEET

                           Time In/Out:        10:28am –           Court Time:        10 minutes
                                               10:38am

                                               Date:           January 28, 2019
                           CR 09-3366 WJ
               Cr. No.                         USA v.          Derek Chavez

                     The Honorable             Chief Judge William P. Johnson

Clerk:                     R. Garcia                           Court Reporter:             M. Loughran

Defendant:                 Present                             Defendant’s Counsel:        Martin Lopez III

AUSA:                      Michael Murphy                      Probation Officer:          Erick Newton

VSR Held:                  Albuquerque                         Interpreter:                N/A

                          ADMISSION OR DENIAL OF PETITION’S ALLEGATIONS

X        Court questions Defendant regarding voluntary nature of admission.
X        Court finds Defendant competent to proceed
X        Court advises Defendant of his/her rights
X        Court advises / confirms Defendant is aware of charges and possible penalty:
X        Defendant ADMITS violation: failed to refrain from use of a controlled substance.
         Proceed to sentencing
         Violation Report WAIVED / NOT WAIVED
         Other: The Court will hold the Petition in abeyance for a period of 4 months; Defendant shall comply with all
X
         previously imposed standard, mandatory, and special conditions of supervision, with the added conditions that the
         Defendant continue to work toward obtaining his GED.

                                                   SENTENCE IMPOSED
Supervision imposed:                           Imprisonment:                          Supervised
                                                                                      Release:

                                                  SPECIAL CONDITIONS




                                                           OTHER
         ADVISED OF Appeal Rights

         HELD IN CUSTODY

         Recommended place of incarceration:

NOTES:         PO addresses the Court in support of recommendation for 3 months custody and no
               supervision to follow.
               Mr. Murphy addresses the Court; requests the Court hold the Petition in abeyance.
               Mr. Martin addresses the Court in support of holding the petition in abeyance until the end of
               April and thus completing course work for GED.
               The Court will hold the Petition in abeyance for a period of 4 months with all prior conditions
               of supervision to remain in effect with the added condition that he continue work toward his
               GED.
